       Case 8-11-78626-ast           Doc 12      Filed 04/03/18    Entered 04/03/18 10:33:09




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------X
  In re:                                                          Case No. 11-78626 (AST)
                                                                  Chapter 7
  ANDREW VIVOLA,

                                      Debt
                                        or.
  -----------------------------------------------------X

                               ORDER REOPENING CASE
                     FOR THE LIMITED PURPOSE SET FORTH HEREIN

        UPON the motion (the "Motion") of Andrew Vivola (the "Debtor"), the above-

referenced debtor, by and through his counsel, Macco & Stern, LLP, for an order (i)

pursuant to 11 U.S.C. § 350(b) and FED. R. BANKR. P. 5010 reopening the Debtor's

bankruptcy case; (ii) avoiding judicial liens pursuant to § 522(f) against the Debtor's interest in

the real property located at, and known as, 62 Paprocki Avenue, West Islip, New York 11795

(the "Real Property"); and (iii) closing the Debtor's bankruptcy case; and notice of the Motion

being good and sufficient, and no further notice being necessary nor required; and no

objections to the Motion having been filed or received; and after due deliberation and

sufficient cause appearing therefore, it is hereby:

         ORDERED, that pursuant to 11 U.S.C. § 350(b) and FED. R. BANKR. P. 5010 the

 Motion is granted; and it is further

          ORDERED, that the Debtor's bankruptcy case, assigned case number 11-78626

 (AST), is reopened; and it is further

          ORDERED, that no Chapter 7 Trustee need be appointed in this reopened case; and it

 is further
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        ORDERED, that upon the entry of a discharge order, the following judicial

liens are vacated, expunged, and avoided as liens of record against the Real Property:

        1.      U S Food Service Inc, recorded with the Suffolk County Clerk on May 20,

                 2010, in the amount of $9,833.01;

        2.      American Express Centurion Bank, recorded with the Suffolk County Clerk on

                 November 5, 2010, in the amount of $20,332.00;

        3.      FIA Card Services N.A., recorded with the Suffolk County Clerk on March

                10, 2011, in the amount of $22,249.25; and

        4.      Clare Rose Inc, recorded with the Suffolk County Clerk on September 7,

                 2011, in the amount of $8,658.46; and it is further

        ORDERED, that upon the entry of a discharge order, the Suffolk County Clerk shall be

directed to index and record a certified copy of this Order as an instrument vacating,

expunging, and avoiding the aforementioned judicial liens as liens against the Debtor's Real

Property located at, and known as, 62 Paprocki Avenue, West Islip, New York 11795; and

it is further

        ORDERED, that upon this Order becoming a final order of the Court, this case may be

re-closed without further Order of this Court.




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Dated: April 3, 2018                                                   Alan S. Trust
       Central Islip, New York                                United States Bankruptcy Judge
